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     Federal Defender
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     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    MOISES COVARRUBIAS GARCIA
7
8                                    IN THE UNITED STATES DISTRICT COURT
9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   No. 1:11-CR-00446 LJO SKO
                                                      )
12                     Plaintiff,                     )   STIPULATION AND ORDER TO CONTINUE
                                                      )   STATUS CONFERENCE HEARING
13          v.                                        )
                                                      )   DATE:        September 10, 2012
14   MOISES COVARRUBIAS GARCIA,                       )   TIME:        8:30 A.M.
                                                      )   JUDGE:       Hon. Lawrence J. O’Neill
15                                                    )
                       Defendants.                    )
16                                                    )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the status conference in the above-captioned matter now set for September 4, 2012, may be
20   continued to September 10, 2012 at 8:30 a.m.
21          This continuance is at the request of both parties. The parties have continued in plea negotiations
22   and believe a modified plea offer will resolve the case. However, due to the Lerdo bus schedule and when
23   it is anticipated the defense will receive the modified plea agreement, defense counsel will not be able to
24   review the plea agreement with the client by the currently set September 4, 2012 status conference.
25   Therefore, a one week continuance is requested so defense counsel may review the new agreement with
26   the client and also to set this case on the same date as the co-defendant.
27          The requested continuance is with the intention of conserving time and resources for both parties
28   and the court.
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1             The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein for effective defense
3    preparation and plea negotiations purposes pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i)
4    and (iv).
5                                                                 Respectfully submitted,
6                                                                 BENJAMIN B. WAGNER
                                                                  United States Attorney
7
8    DATED: August 23, 2012                             By:       /s/ Elana S. Landau
                                                                  ELANA S. LANDAU
9                                                                 Assistant United States Attorney
                                                                  Attorney for Plaintiff
10
11                                                                DANIEL J. BRODERICK
                                                                  Federal Defender
12
13   DATED: August 23, 2012                             By:       /s/ Charlse J. Lee
                                                                  CHARLES J. LEE
14                                                                Assistant Federal Defender
                                                                  Attorneys for Defendant
15                                                                MOISES COVARRUBIAS GARCIA
16
17
18                                                     ORDER
19            The continuance is granted for good cause and the Court finds the ends of justice outweigh the
20   interest of the public and the defendant in a speedy trial. Time is excluded pursuant to 18 U.S.C. §§
21   3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
22   IT IS SO ORDERED.
23   Dated:      August 23, 2012                       /s/ Lawrence J. O'Neill
     b9ed48                                        UNITED STATES DISTRICT JUDGE
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     Garcia: Stipulation and Proposed Order                   2
